                           Fourth Court of Appeals
                                 San Antonio, Texas
                                       JUDGMENT
                                     No. 04-24-00255-CV

                   IN THE INTEREST OF I.E.P. AND D.K.V., Children

                 From the 225th Judicial District Court, Bexar County, Texas
                               Trial Court No. 2022PA01552
                    Honorable Charles E. Montemayor, Judge Presiding

      BEFORE JUSTICE RIOS, JUSTICE WATKINS, AND JUSTICE VALENZUELA

       In accordance with this court’s opinion of this date, the judgment of the trial court is
AFFIRMED. It is ORDERED that no costs be assessed against appellant in relation to this appeal
because appellant qualifies as indigent under Texas Rule of Appellate Procedure 20.

       SIGNED August 14, 2024.


                                               _____________________________
                                               Lori I. Valenzuela, Justice
